 Case 21-13994   Doc 20   Filed 12/27/21 Entered 12/27/21 22:30:27    Desc Main
                            Document     Page 1 of 6



                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


JAMES O. STOLA,                      )       Case No. 21-13994
                                     )       Chap. 13
           Debtor.                   )       Hon. Jacqueline P. Cox


NOTICE OF MOTION


     To: Thomas H. Hooper, thomas.h.hooper@55chapter13.com

     Internal Revenue Service, Centralized Insolvency Operation, P. O. Box 7346,
     Philadelphia, PA 19101-7346 Angela.E.Munoz@irs.gov

     Patrick S Layng, United States Trustee Office, 219 S. Dearborn St., Room
     873, Chicago, IL 60604 USTPRegion11.ES.ECF@usdoj.gov

     Lorenzo Valladolid, Goldstein, Fluxgold & Baron, P.C., 33 N. Dearborn St.,
     Suite 950, Chicago, IL 60602 LValladolid@gfblaw.net

     Robert Dreger, 910 W. Van Buren Street, Suite 503, Chicago, Ill. 60607
     rmdreger@dregerlaw.com

     Eric Rathert , Wells Fargo Bank NA, PO Box 10438, Des Moines, IA 50306-
     0438 wffbankruptcy@wellsfargo.com

     Peter C Bastianen on behalf of Creditor U.S. Bank, N.A., as Legal Title
     Trustee for Truman 2016 SC6 Title Trust
     bkpleadingsNORTHERN@il.cslegal.com

     Joel P Fonferko on behalf of Creditor U.S. Bank, N.A. as Legal Title Trustee
     for Truman 2016 SC6 Title Trust bkpleadingsNORTHERN@il.cslegal.com

     Scott G Goldstein on behalf of Creditor Ivan Kocic, sgoldstein@gfblaw.net

     Christopher H Purcell on behalf of Creditor FORD MOTOR CREDIT
     COMPANY LLC shermlaw13@aol.com

     Michael L Sherman on behalf of Creditor FORD MOTOR CREDIT
     COMPANY LLC shermlaw1@aol.com


                                         1
 Case 21-13994     Doc 20   Filed 12/27/21 Entered 12/27/21 22:30:27     Desc Main
                              Document     Page 2 of 6



      Rachael A Stokas on behalf of Creditor U.S. Bank, N.A., as Legal Title
      Trustee for Truman 2016 SC6 Title Trust
      bkpleadingsNORTHERN@il.cslegal.com

      PRA Receivables Management, LLC
      PO Box 41021
      Norfolk, VA 23541

On Monday, January 3, 2022, at 9:00am we will appear before the presiding Judge,
Honorable Jacqueline P. Cox, on ZOOM for Government teleconference, Meeting ID
161 500 0972, Passcode 726993, and present the attached DEBTOR’S SECTION
362(c)(3) MOTION TO EXTEND AUTOMATIC STAY.

This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard
on the motion, you must do the following: To appear by video, use this link:
https://www.zoomgov.com/. Then enter the meeting ID and password.

Meeting ID: 1612732896 Password: 778135

To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.

Meeting ID and password. The meeting ID for this hearing is 161 273 2896 and the
password is 778135.

The meeting ID and password can also be found on the judge’s page on the court’s
web site. If you object to this motion and want it called on the presentment date
above, you must file a Notice of Objection no later than two (2) business days before
that date. If a Notice of Objection is timely filed, the motion will be called on the
presentment date. If no Notice of Objection is timely filed, the court may grant the
motion in advance without a hearing.

                                              James O. Stola,

                                              By:_____/S/___Michael J. Greco____
                                                    Michael J. Greco
Atty. No. 6201254                                   Attorney for Debtor
Michael J. Greco, Attorney at Law
Attorney for Debtor James O. Stola
175 W. Jackson Blvd., Suite 240
Chicago, Ill. 60604
312 222-0599
Email: Michaelgreco18@yahoo.com


                                          2
 Case 21-13994    Doc 20    Filed 12/27/21 Entered 12/27/21 22:30:27    Desc Main
                              Document     Page 3 of 6



CERTIFICATE OF SERVICE

The undersigned attorney certifies that he served a copy of this Notice and the
attached DEBTOR’S SECTION 362(c)(3) MOTION TO EXTEND AUTOMATIC
STAY to the parties named above by electronic mail to their respective addresses of
record via the Court’s electronic filing system, and via regular U.S. Mail to the
Internal Revenue Service directed and posted to the address shown above, before
11:59pm on December 27, 2021.


____/S/__Michael J. Greco_________
Michael J. Greco


Michael J. Greco, Attorney at Law
Attorney for Debtor James O. Stola
175 W. Jackson Blvd., Suite 240
Chicago, Ill. 60604
312 222-0599
Email: Michaelgreco18@yahoo.com
Atty. No. 6201254




                                         3
 Case 21-13994     Doc 20   Filed 12/27/21 Entered 12/27/21 22:30:27       Desc Main
                              Document     Page 4 of 6



                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


JAMES O. STOLA,                           )       Case No. 21-13994
                                          )       Chap. 13
             Debtor.                      )       Hon. Jacqueline P. Cox


      DEBTOR’S SECTION 362(c)(3) MOTION TO EXTEND AUTOMATIC STAY


      DEBTOR JAMES O. STOLA moves this Court to enter an Order pursuant to

Section 362(c)(3) of the Bankruptcy Code, 11 U.S.C. Section 362(c)(3), extending the

Automatic Stay until Discharge. To support this Motion, Debtor states as follows:

1.    Debtor filed this Chapter 13 case on December 9, 2021.

2.    Debtor previously filed a Chapter 13 Petition for Bankruptcy Relief on April

13, 2018. That case was dismissed on June 2, 2021, after Debtor had fallen into

arrears in making Plan payments. This was because Debtor had a significant

decrease in his revenue and earnings from his law practice during the time period

that the Chapter 13 Plan was in effect.

3.    Beginning in 2019, Debtor was suffering with a severely arthritic right hip,

which substantially impeded his mobility. Debtor’s right hip replacement surgery

was originally to take place in September 2019, and delayed due to illness. It was

subsequently further delayed, and the onset of the COVID-19 pandemic delayed it

even more. Debtor ultimately received the right hip replacement surgery in January

2021. Subsequently, Debtor received a course of intensive physical therapy from

February 2021 through June 2021, which proved effective.


                                              4
 Case 21-13994     Doc 20    Filed 12/27/21 Entered 12/27/21 22:30:27      Desc Main
                               Document     Page 5 of 6



4.    Debtor is a lawyer practicing as a sole practitioner in Chicago, Illinois.

Debtor has regular, albeit erratic, income and is able to fund a Chapter 13 Plan.

5.    In addition, Debtor is an art dealer, and opened an art dealership in January

2020. Although Debtor had a lot of artwork, sales diminished with the COVID-19

pandemic.

6.    Debtor experienced significant financial reversals and a diminution in his

earnings during the COVID-19 pandemic, compounded by his right hip issues. The

COVID-19 pandemic effected a shutdown or reduction in activity of innumerable

businesses and commercial operations, governmental agencies and courts, causing

Debtor to fall behind in Plan payments to the Chapter 13 Trustee during the

pendency of the previous bankruptcy case, Case No. 18-10776, resulting in the

dismissal of that case.

7.    More recently, Debtor has experienced a recovery of his earnings levels in his

law practice, and improvement in art sales as well, all enhanced in substantial part

by Debtor’s recovery from right hip replacement surgery, enabling Debtor to fund

periodic payments under a Chapter 13 Plan.

8.    Debtor needs bankruptcy relief, including the Automatic Stay, in order to

enable him to effect his Chapter 13 Plan, and maintain his residence. Debtor is an

older person and senior citizen, and will not easily be able to re-structure his debt

and maintain his and his wife’s household and a reasonable standard of living if

Bankruptcy relief is not available to him, including the automatic stay of

enforcement proceedings (including mortgage foreclosure proceedings) against



                                           5
 Case 21-13994    Doc 20    Filed 12/27/21 Entered 12/27/21 22:30:27   Desc Main
                              Document     Page 6 of 6



Debtor.


      Wherefore, DEBTOR JAMES O. STOLA respectfully requests that this Court

enter an Order pursuant to Section 362(c)(3) of the Bankruptcy Code, 11 U.S.C.

Section 362(c)(3), extending the Automatic Stay until Discharge.



                                             Respectfully submitted,

                                             James O. Stola,


                                             By:_____/S/___Michael J. Greco____
                                                   Michael J. Greco
Atty. No. 6201254                                  Attorney for Debtor
Michael J. Greco, Attorney at Law
Attorney for Debtor James O. Stola
175 W. Jackson Blvd., Suite 240
Chicago, Ill. 60604
312 222-0599
Email: Michaelgreco18@yahoo.com




                                         6
